AO 187 (Rev. 7/8445 Riot Qe Wee hd-EBB Document 129 Filed 06/19/06 Page 1of1

Anited States District Court

DISTRICT OF

oH EXHIBIT AND-WFFNESS- LIST

—— __ JAW (hal lay He CASE NUMBER: ADNWe hear ( EBB)
Ci &. Rue PM WE Guotahanr EA eer ee

TRIAL DATE(S) COUAT h IMk Ad COURTROOM DEPUTY =f |
4
hit 1 2p kK. Malady wale Bod bn
PLF. | DEF. DATE '
No. | NO. OFFERED MARKEO/ ADMITTEG DESCRIPTION OF EXHIBITS" AND WITNESSES

Ze

4) [yleloul “1% [to wl wire taps

ce —
ete 3 <a cae
: sa peel
Yu
_ i
— >. eeu
ele yey
le De ED
— _—
8
c” 3 Kaw
‘ ‘, =. an
“ad oO
i

* Include a notation as to the location of any exhibit not held with the case file or not avallable because of size.

Page 1 of Pages

TORR NIN Rs ae See ela“ SES rete

aia a er evict wd teh hares PLDT an SG PTS

CTT cs eet en ge ee

Sg rp

fo te bev tne device eet etter ae) ogo pen ui 6 ergy
